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RIC (Austin) LLC
Case No 24-10264-cgb
MOR Exhibit C
September 9 - September 30, 2024




CASH RECEIPTS


Date       Amount          Purpose                           Bank Account


[none]
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RIC (Austin) LLC
Case No 24-10264-cgb
MOR Exhibit D
September 9 - September 30, 2024




CASH DISBURSEMENTS


Date       Amount            Purpose                            Clear Date
9/19/24         $3,098.96    Airco Mechanical Ltd               9/24/24
9/19/24             $34.99   ATX Alarm Company                  10/2/24
9/19/24             $69.98   ATX Alarm Company                  10/2/24
9/19/24         $2,598.00    The Davey Tree Expert Company      9/25/24
9/19/24            $345.32   The Bug Master                     9/24/24
9/19/24         $2,440.68    Pro-Vigil, Inc                     9/25/24
9/19/24            $697.80   Austin Porta Potty Rentals
9/19/24            $240.22   Texas Disposal Systems             9/26/24
9/19/24            $117.41   Texas Gas Service                  9/26/24
9/26/24       $40,914.62     City of Austin                     10/3/24
9/26/24         $1,016.70    City of Austin                     10/3/24
9/30/24            $400.00   Bank and Technology Services Fee   9/30/24
              $51,974.68
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RIC (Austin) LLC
Case No 24-10264-cgb
MOR Exhibit E
September 9 - September 30, 2024


ACCOUNTS PAYABLE


  Invoice Date     Due Date       Vendor                  Invoice Amount
       07/31/24        8/10/2024 City of Austin                  1,016.70
       08/22/24        9/21/2024 The Bug Master                   194.85
       08/22/24        9/21/2024 The Bug Master                    55.21
       08/22/24        9/21/2024 The Bug Master                    95.26
       08/25/24         9/4/2024 Ranger Security               13,639.00
       08/25/24         9/7/2024 Texas Gas Service                116.95
       08/28/24         9/7/2024 Austin Porta Potty               697.80
       08/28/24         9/7/2024 Chaparral Professional        13,250.00
       09/01/24         9/1/2024 ATX Alarm Company                 34.99
       09/01/24        9/11/2024 Travis County Tax                   4.79
       09/03/24        9/13/2024 Austin Porta Potty               697.80
       09/06/24        9/16/2024 Wylie Engineering             10,500.00
       09/09/24        9/19/2024 Capital Geotechnical            3,779.00
       09/10/24        9/20/2024 Quiddity                        2,962.00
       09/10/24        9/20/2024 Quiddity                         577.50
       09/12/24        9/22/2024 Elm Developments                2,700.00
       09/21/24        10/1/2024 C&C Restoration                 4,250.00
       09/21/24        10/1/2024 City of Austin                  1,016.70
       09/21/24       10/21/2024 Pro-Vigil, Inc                  5,079.09
       09/21/24       10/21/2024 The Bug Master                    95.26
       09/21/24       10/21/2024 The Bug Master                   194.85
       09/21/24       10/21/2024 The Bug Master                    55.21
       09/24/24       10/24/2024 Pro-Vigil, Inc                  3,442.16
       09/24/24        10/4/2024 Ranger Security               14,289.00

                                                               78,744.12
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RIC (Austin) LLC
Case No 24-10264-cgb
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September 9 - September 30, 2024




[none]
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                RIC (Austin) Inc.
                Balance Sheet
                September 30, 2024
                Unaudited

                ASSETS


                                                         Sept 2024
                Current assets:
                  Operating Bank Account                           680,578.97
                  Other Receivables                                      0.00
                  Claims Receivable                             11,047,959.58
                  Inventory Land                                37,120,042.68
                  Inventory Building                            63,256,402.30
                  WIP 1 Development Costs                       38,612,281.38
                  Total current assets                         150,717,264.91

                Fixed assets:
                   Consulting Fees                                        0.00
                                                                          0.00

                Other assets:
                  Due From Shareholder                               1,000.00
                                                                     1,000.00
                                                               150,718,264.91

                LIABILITY AND SHAREHOLDER'S EQUITY
                Current liabilities:
                  Accounts Payable                                   78,744.12
                  Total current liabilities                          78,744.12

                Long term liabilities:
                  Mortgage Payable RMLP 8864                    88,146,533.77
                  Mortgage Payable RMLP 88641                   51,444,027.44
                  Debt payable Panache                          11,047,959.58
                                                               150,638,520.79

                Shareholder's equity:
                  Equity Capital                                     1,000.00
                  Total shareholder's equity                         1,000.00
                                                               150,718,264.91




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                                          TriState Capital Bank
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                                   301 Grant           Entered
                                             Street, STE 2700  10/21/24 15:34:22 Exhibit A Pg 7 of 10
                                          Pittsburgh PA 15219

                                                                                                                    Period Covered:
                                                                                           September 01, 2024 - September 30, 2024
                                                                                                                        Page 2 of 5
Credits

Date                    Description                                                                                      Additions
09-05                   INCOMING WIRE FROM RIC AUSTIN LLC 78893786                                                      $12,452.36
09-05                   INCOMING WIRE FROM RIC (AUSTIN ) LLC-CORPORATE ACCOUNT 789023                                  $280,250.90
                        76
09-05                   INCOMING WIRE FROM RIC (AUSTIN ) LLC-ELM ACCOUNT 78902378                                        $1,476.93
09-05                   INCOMING WIRE FROM RIC (AUSTIN ) LLC 78902979                                                    $3,000.00


Daily Balances

Date                                Amount      Date                         Amount     Date                              Amount
08-31                            $643,304.56    09-04                     $534,226.24   09-05                          $732,588.64
09-24                            $729,144.36    09-25                     $724,105.68   09-26                          $723,748.05
09-30                            $723,348.05
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                                                          TriState Capital Bank
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                                   301 10/21/24       Entered
                                       Grant Street, STE 2700 10/21/24 15:34:22 Exhibit A Pg 10 of 10
                                                          Pittsburgh PA 15219

                                                                                                                                                       Period Covered:
                                                                                                                              September 01, 2024 - September 30, 2024
                                                                                                                                                           Page 5 of 5
                                                                    ERROR RESOLUTION NOTICE

In case of errors or questions about your electronic transfers, call, email or write us at the telephone number, email address or mailing address listed below, as
soon as you can, if you think your statement or receipt is wrong or if you need more information about a transfer listed on the statement or receipt. We must hear
from you no later than 60 days after we sent the FIRST statement on which the problem or error appeared.


               1. Tell us your name and account number (if any).
               2. Describe the error or the transfer you are unsure about, and explain as clearly as you can why you believe it is an error or why you need more
                  information.
               3. Tell us the dollar amount of the suspected error.


If you tell us orally, we may require that you send us your complaint or question in writing within 10 business days. We will determine whether an error occurred
within 10 business days (5 business days for debit card point-of-sale transactions and 20 business days if the transfer involved a new account) after we hear from
you and will correct any error promptly. If we need more time, however, we may take up to 45 days (90 days if the transfer involved a new account, a point-of-sale
transaction, or a foreign-initiated transfer) to investigate your complaint or question. If we decide to do this, we will credit your account within 10 business days for
the amount you think is in error, so that you will have the use of the money during the time it takes us to complete our investigation.


If we ask you to put your complaint or question in writing and we do not receive it within 10 business days, we may not credit your account. Your account is
considered a new account for the first 30 days after the first deposit is made, unless each of you already has an established account with us before this account is
opened. We will tell you the results within three business days after completing our investigation. If we decide that there was no error, we will send you a written
explanation. You may ask for copies of the documents that we used in our investigation.


Stretto
410 Exchange
Suite 100
Irvine CA 92602
Phone: 800-634-7734

Email: Banking.Services@Stretto.com
